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                              UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA                                    ,..ro. :   #




UNITED STATES OF AMERI CA,                                    CASE NO. 15CR2 794-GPC

                              Plaintiff,
                    vs.                                       JUDGMENT OF DISMISSAL
RONALD YOUNG (5),

                              Defendant.


          IT APPEARING that the defendant is now entit l ed to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Co urt has granted the moti o n of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessar y delay; or

__x__ the Court has granted the motion of the Government for dismissal,
     wi thout prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant n o t
     gu i lt y ; o r

     the jury has r eturned its verdict, finding the d e fendant not guilty;

__
 X__ of the offense(s) as charged in the Indictment:

     1 BUSC371 ;   BUSC 1 324 (b) ;   1 BUSC9B2 ( a ) (6) ;   2BUSC246 1© -    Count 1;     BUSC1324 ( a) (2) (B) ( i i)


     1BUSC2 ;   BUSC1324 (b) ;    1BUSC9B2 (a) (6) ;      2BUSC2461© -        Counts 2 -7

            IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: January 2 6, 2 016                                      ~~
                                                               Nita L. Stormes
                                                               U.S. Magistrate Judge
